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NINA J. GREGGS and ) IN THE UNITED STATES
GABRIEL L. GREGGS, ) DISTRICT COURT FOR THE
) EASTERN DISTRICT OF
) LOUISIANA
)
Plaintiffs, ) DOCKET NO. 1657
) CASE NO, 2:07-cv-03969-EEF-DEK
V. )
)
MERCK & CO., INC., et al., ) STIPULATION OF DISMISSAL
) WITH PREJUDICE AS TO
Defendants. ) ALL DEFENDANTS
)

Pursuant to Rule 41, Fed. R. Civ. P., the undersigned hereby stipulate that
all claims of plaintiffs, NINA J. GREGGS and GABRIEL L. GREGGS, against
defendant Merck & Co., Inc. and all other named defendants be dismissed in their entirety

with prejudice, each party to bear its own costs.

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Dated: /l-/3- 068

, Attorneys for Merck & Co., Inc.

Dated: S=244 2

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CERTIFICATE OF SERVICE

[hereby certify that the above and foregoing Stipulation of Dismissal With

Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip

Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by

electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-

Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF system

which will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657, on this 26th day of May, 2010.

/s/ Stephen G. Strauss

Stephen G. Strauss

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